    Case No. 3:11-mj-00138-DMS

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    I, Jacqueline A. DeCou, first being duly sworn, depose the following:

        1. I am a Special Agent employed by the Federal Bureau of Investigation (FBI),

Anchorage Division. I have been employed by the FBI since September, 1986, and became an

FBI Special Agent in October, 1994. I have been assigned to the Anchorage Division since

January, 2007.

       2. On August 2,2011, I received an e-mail from John Tiemessen, of the law firm Clapp,

Peterson, Tiemessen, Thorsness, Johnson, LLC, in Fairbanks, Alaska, advising that he had

received a voice-mail message from Shawn Christy on August 1, 2011. The voice-mail message

from Christy was attached to the e-mail from Tiemessen. (By way of background, Tiemessen is

the attorney for Sarah Palin and her family. On May 9, 2011, Tiemessen had obtained a six month

Protective Order in the District/Superior Court for the State of Alaska at Anchorage against Shawn

Christy (3AN-11-1112-CI) and Craig Christy (3AN-11-1107-CI). The Christys have been upset

about the restraining orders as evidenced by the frequency of calls and their references to the

restraining orders.) The message from Shawn Christy said something to the effect: "What's

going on here, what's your fucking problem? Or are you just a little fucking Semite Kike that

likes to get a dick up your ass and likes to fuck people over. Well surprise, for the first time in

your life John, somebody small, some little dick fuck from McAdoo is going to ram it up your

fucking ass and take everything away that you ever fucking-everything you fucking love,

everything you fucking like I'm going to take it. I'm going to ransom your fucking children. By

the time I'm done you're going to be nobody. You're going to be walking on the street, sucking


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off big corporate executives to get a little bit of cum in your mouth to make an extra twenty dollars.

So if you don't want that life, pay me some fucking money now, and I'll be quiet and I'll go away.

So you know what you pay me enough money I might even think about fucking Sarah for the hell

of it...." Shawn Christy, and his father Craig Christy, live in McAdoo, Pennsylvania.

       3.    On August 3,2011, at approximately 10:03 a.m., I received an e-mail from John

Tiemessen advising me that he had received approximately 25 phone calls within the last hour

from both Shawn Christy and Craig Christy. Some ofthe calls involved threats against

Tiemessen and Sarah Palin. I received another e-mail on August 3, 2011 at approximately 10:58

a.m. from Tiemessen advising that now he had received approxim~tely 50 phone calls. In one of

the messages, the Christys state that they know they are violating the protective order. On August

3, 2011, at approximately 5: 10 p.m. I received an e-mail message from John Tiemessen stating that

his direct number at his office rang about 150 times with the call number saying "unidentified

number" or "Cell PA."

       4.    On August 4, 2011, at approximately 10:56 a.m., I received an e-mail from John

Tiemessen advising he had received dozens and dozens of calls from Shawn Christy and Craig

Christy. They also had started to call the law firm's office in Anchorage. The most recent

message was from Craig Christy stating something to the effect, "I'm going to press your fucking

buttons for the rest of your life. Wait until I start finding out where all your family members live

cause I'm going to put them all over the worldwide web ...." Also on August 4, 2011 at

approximately 1:27 p.m., I received an e-mail from John Tiemessen, advising that he had received

a message from Craig Christy with a death threat. Craig Christy stated something to the effect,

" ....Cause I tell you motherfucker, you're playing with the wrong fucking boy. I tell you what,


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you want to play fucking games like that, I'll fucking kill you. There's a fucking threat now

fucking bring it on motherfucker. You got that? You wanna fuck with my boy like that, I will

come and fucking kill you ...." Craig Christy also called Tiemessen's sister and uncle on August

4,2011.

       5.    On August 8, 2011, I spoke with John Tiemessen regarding contact with Shawn

Christy and Craig Christy. Tiemessen advised that he received approximately 250 calls in the

Fairbanks office that day. The tone of the messages was putting the staff on edge because they

have been threatened by the Christys. They repeatedly say they are coming to Alaska.

Tiemessen's family also has been threatened and harassed telephonically.

       6. On August 8, 2011, I spoke with the receptionist at the law firm's office in Fairbanks,

Alaska. She stated on August 1, 2011, 14 calls were received from the Christys on the main office

number in Fairbanks. On August 3, 2011, 179 calls were received from the Christys on the main

office number. On August 4,2011, 121 calls were received from the Christys on the main office

number. On August 5, 2011, 123 calls were received from the Christys on the main office

number. In the majority of the calls, the Christys identify themselves.

       7. On August 9, 2011, I spoke with the firm administrator for the law firm's office in

Anchorage, Alaska. She advised the Anchorage office began receiving telephone calls from

Shawn Christy and Craig Christy on August 1, 2011. In addition, several staff members started to

receive telephone calls from the Christys.

       8.    On August 9, 2011, I spoke with L.1., an attorney in the law firm Clapp, Peterson,

Tiemessen, Thorsness, Johnson, LLC, in Anchorage, Alaska. She advised that she started

receiving phone calls from the Christys on her direct line on August 4, 2011. In addition she


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received text messages from Shawn Christy on her cell phone. She uses her cell phone for her

clients, children and husband. The calls disrupted her ability to talk to her clients, children and

her husband. One afternoon, she was with a client and her direct line at work rang so many times

that she pulled the cord out of the wall to stop the phone from ringing.

        9.     On August 9, 2011, I spoke with a legal secretary for the law firm in Anchorage. She

stated the phone calls have been disruptive to the office. She stated one of the messages left by

Shawn Christy states that he is going to come to Alaska and rape one of the attorneys in the office.

        10. On August 9, 2011, I spoke with other employees who received messages from Shawn

Christy and Craig Christy. Some received several calls from Shawn and Craig Christy.

        11. The telephone calls from the Christys to the law firm and its employees are continuing

to this day.

        12. In many of the messages left by Craig Christy, Craig Christy leaves a call back

number of 570-579-3715. The "579" number is a landline out of Pennsylvania. In many of the

messages left by Shawn Christy, Shawn Christy leaves a call back number of570-578-4139. The

"578" number is a wireless number from Pennsylvania. The area code for McAdoo,

Pennsylvania is "570."

        13. Title 47, United States Code, Section 223(a)(l)(D) states: "Whoever (1) in interstate

communications...(D) makes or causes the telephone of another repeatedly or continuously to ring,

with the intent to harass any person at the called number" is guilty of a felony.

        14. The foregoing information outlined above gives rise to probable cause to believe that

on August 1, 2011 to the present, Shawn Christy is committing the offense of harassing telephone

calls in violation of Title 47, United States Code, Section 223(a)(l)(D) .


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            15. The foregoing infonnation outlined above gives rise to probable cause to believe that

on August 1, 2011 to the present, Craig Christy is committing the offense of harassing telephone

calls in violation of Title 47, United States Code, Section 223(a)(l)(D) .

                                                                    SIGNATURE REDACTED


                                                               ~/aUqUeline    A. DeCou ~

                                                               Anchorage, AK
   Sworn to before me and subscribed to in
   my pj~sence on the 12t~f August, 2011
    .     lSI DEBORAH M. SMITH       ; /
        ,U.S. MAGISTRATE JUDGE        ~
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